UNITED STATES OF AMERICA

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uNiTEr) sTATEs DISTRICT COURT flth BY._..____ D.C.

WESTERN DISTRICT OF TENNESSEE

Eastern Division 95 JUL_ 21 A]'| 82 311

 

_v_
LARRY JONES
ORDER SETT|NG
COND|T|ONS OF RELEASE
IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:
(]} The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Serviees Offlce, Probation Offlce, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed Tlie defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom Courtroorn # on Day, Date, at Time.

ADDlT|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the

community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 Execute a bond in the amount 01`$10,000 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: $l,000.

o report as directed by the Pretrial Serviccs Office. ' ' ~"',"- r" 1 ' "'f‘"*

o l\/laintain or actively seek employment

0 Refra`m from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §
802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner

¢ Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substancel Such methods may be used with random

This document entered on the docket sheet ln compliance
AO 199A OrdEr Se|llng Conditions of Release ' l' with Rule 55 and/rcr 32(b) Fncrp on

Seeured Financial Conditions

 

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frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

ADV|CE OF PENALTIES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOWING PENALT|ES AND SANCT|ONS:

A violation ofany of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

'l`lie commission cfa Federal offense while on pretrial release may result in an additional Sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

F ederal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigationl lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or infonnant; to retaliate or attempt to retaliate against a witness, victim or
infonnant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

if after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed if you arc convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than 3250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $lOO,UUU or imprisoned not more than one year, or both.

A temi of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense ln addition, a failure to appear may result in the forfeiture of any bond posted.

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ACKNOWLEDGN|ENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that I am aware of the conditions of release I promise
to obey all conditions ofrelcase, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above
%M/}/; %(d;

%Mre of Defendant"

Larry Jones

218 Daugherty
Jackson, TN 38301
731-422-1140

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DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody. ` '

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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DISTRIC COURT - WESTERN D"T'CT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 1:05-CR-10042 was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed

 

 

M. Dianne Smothers

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Ste. B-S

Jacl<son7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

